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                      CASENO   .
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IN RE :SEA LED
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       COM ES N OW ,the U nited States ofA m erica,by and through its undersigned attorney,

and respectfully requests that the Com plaint and Com plaint A ffidavit, Arrest W arrant, this

M otion to Seal,and anyresulting SealingOrderbeSEALED forninety (90)days,exceptingthe
U nited States A ttorney's O ftice and Law Enforcem ent Personnel,w hich m ay obtain copies of

any Complaintand ComplaintAffidavit,ArrestW arrant,thisM otion to Seal,and any resulting

Sealing Order, for the reason that the integrity of the ongoing investigation m ight be

com prom ised should know ledge ofthis Search W arrantbecom e public.

       Dated:M arch    ,2017

                            Respectfully subm itted,

                                           W IFR ED O A .FERRER
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